             NOTICE
                                      2024 IL App (5th) 230668-U                                                                                        NOTICE
 Decision filed 08/22/24. The
                                                                             This order was filed under
 text of this decision may be               NO. 5-23-0668                    Supreme Court Rule 23 and is
 changed or corrected prior to
                                                                             not precedent except in the
 the filing of a Petition for                  IN THE                        limited circumstances allowed
 Rehearing or the disposition of
                                                                             under Rule 23(e)(1).
 the same.
                                   APPELLATE COURT OF ILLINOIS

                               FIFTH DISTRICT
______________________________________________________________________________

In re DALTON J., a Minor                  )     Appeal from the
                                          )     Circuit Court of
(The People of the State of Illinois,     )     Massac County.
                                          )
       Petitioner-Appellee,               )
                                          )
v.                                        )     No. 20-JA-18
                                          )
Dallen J.,                                )     Honorable
                                          )     Cord Z. Wittig,
       Respondent-Appellant).             )     Judge, presiding.
______________________________________________________________________________

          PRESIDING JUSTICE VAUGHAN delivered the judgment of the court.
          Justices Barberis and Boie concurred in the judgment.

                                             ORDER

¶1        Held: Termination of respondent’s parental rights is affirmed where consideration of the
                Mathews factors fails to reveal that respondent’s due process rights were violated
                when the trial court denied respondent’s requested continuance due to his
                incarceration in another state.

¶2        Respondent, Dallen J., appeals the trial court’s September 1, 2023, order terminating his

parental rights. On appeal, he argues that the trial court’s denial of his motion to continue the

fitness hearing violated his right to due process. For the following reasons, we disagree.




                                                  1
¶3                                        I. BACKGROUND

¶4      Dallen and Evlinda 1 are the biological parents of Dalton, born April 13, 2012. On April 7,

2020, Dalton was removed from their custody. At the shelter care hearing, Stacy Hefner, a child

protection specialist with the Illinois Department of Children and Family Services (DCFS),

testified that DCFS received a hotline report alleging that a child was living in a camper where

methamphetamine was being manufactured. Ms. Hefner called police officers to accompany her

and investigate the situation at Dallen and Evlinda’s camper in Brookport, Illinois, on April 7,

2020. Ms. Hefner stated that the inside of the camper smelled, and no utility service was seen. She

stated that Evlinda denied entry into the camper to either confirm or deny the existence of the

endangering environmental concerns, and when Dalton came out of the camper, he was very dirty.

She stated that during her conversation with Evlinda, her speech was slurred, and her movements

were impaired to such extent that Ms. Hefner believed Evlinda was intoxicated. Ms. Hefner

testified that Dalton was never enrolled in school and Dallen had a history of substance abuse,

domestic abuse, and an outstanding warrant in Massac County. Counsel was appointed for Dallen

and Evlinda. Dallen and Evlinda advised the court that they had been trying to move for the past

nine months but their lack of a vehicle, due to a prior accident, precluded their departure from

Illinois. The trial court found probable cause and ordered twice a week visitation with the child.

¶5      On June 10, 2020, Caritas Family Solutions (Caritas), a subcontractor for DCFS, filed a

status report with the court. The report stated that both parents completed their integrated

assessments. Dallen was recommended services for substance abuse, domestic violence as a

perpetrator, and mental health. He was also required to ensure utilities were in the residence, attend




        1
         Evlinda is not a party to this appeal. Information related to her included in this decision is provided
solely for context related to Dallen’s appeal.
                                                       2
visitation, and participate in drug testing. The report indicated that the agency heard that Dallen

threatened to burn someone’s house down after Dalton was taken into care and threatened to take

Dalton from care. Dallen attended two of the six scheduled drug tests. The parents attended

visitation virtually. However, during the May 29, 2020, visitation, staff believed Evalinda was

under the influence due to her erratic actions that included rolling her eyes back in her head, an

inability to keep her head up, popping her jaw back and forth, and sucking on Dallen’s chest.

¶6     The Caritas report also revealed that Dalton had few social skills, talked down to women,

hated to be outside, did not like being told “no,” and only wanted to watch television and play

video games. He had no fear of strangers and used the “n word” and other foul language in the

home. His assessment revealed he was a witness to Dallen’s domestic violence toward Evlinda,

including choking and pulling a knife on her. Dallen would also spank Dalton with a belt that made

him bleed when the buckle hit his skin. Dalton stated that the shower did not work in the camper

and therefore he used a washcloth to bathe. He had not recently seen a doctor, received no vaccines

after age four, and had vision problems that were over five years old that were fixed with glasses

after Dalton entered DCFS’s care.

¶7     On June 10, 2020, DCFS filed a status report. The report contained similar information to

the Caritas report and added that Dalton was referred to counseling to develop coping skills and

deal with trauma. He was also referred for dental care and was enrolled in school.

¶8     The adjudicatory hearing was held on July 22, 2020. Testimony was provided by Ms.

Hefner, Summer Clapp, who was a police officer that accompanied Ms. Hefner to the parents’

camper on April 7, 2020, and Kelsie Arp, a caseworker from Caritas. Their testimony addressed

how Dalton came into care and information received thereafter. Evlinda testified about her medical

condition and the camper’s utilities. Following the hearing, the trial court found the State proved


                                                3
Dalton was neglected. The trial court’s written adjudicatory order found that Dalton was neglected

because he suffered from a lack of support, education, and remedial care pursuant to section 2-

3(1)(a) of the Juvenile Court Act of 1987 (Juvenile Court Act) (705 ILCS 405/2-3(1)(a) (West

2020)) and was in an environment injurious to his health pursuant to section 2-3(1)(b) of the

Juvenile Court Act (id. § 2-3(1)(b)).

¶9     On August 11, 2020, Caritas filed a dispositional report. That report indicated that Dallen

was not interested in participating in services. The parents had only missed one visit; however,

during most visits, they talked to the case aides more than Dalton. The report recommended

completion of the service plans and provided a goal of returning home in 12 months.

¶ 10   The dispositional hearing was held on September 23, 2020. The parties agreed to the

agency recommendations related to services and requested two hours with Dalton once a week

instead of two one-hour sessions twice a week. The request was granted. A written dispositional

order was filed on October 1, 2020, that found Dallen was unwilling to participate in services

because he did not believe they were necessary.

¶ 11   The November 17, 2020, Caritas report noted that Dalton was eight years old and was

doing well in school. He read at an eighth-grade level, was making friends, developing social skills,

and growing more rounded in his education. He loved school and was happy. He was also in

counseling. The report further noted that Dallen participated in 4 of 17 drug tests. He was positive

for methamphetamine on three of the tests and had not engaged in domestic violence services. The

report revealed that when Dallen and Evlinda were assessed for drug and mental health services,

both denied taking drugs or having mental health issues and therefore no services were

recommended. The agency requested reassessment with correct information being provided.




                                                  4
¶ 12   DCFS filed a permanency hearing report on December 8, 2020. The report revealed that

while Evlinda and Dallen regularly attended visits with Dalton, both parents blamed Dalton for his

removal and claimed that he lied to the caseworkers. The agency found the parents’ blaming Dalton

for his removal at visitation made it difficult for Dalton to communicate openly in counseling. He

would also become distant in the foster home after the visits. He continued to do well in school

and his behavior in the foster home was much better. The report stated that when Dallen was

confronted about the drug testing that was positive for methamphetamine, he claimed his neighbors

injected his water with the drug. He was not engaged in any services. A permanency hearing on

December 16, 2020, revealed the parents were heating their camper with a toaster oven and hair

dryers. The permanency goal remained the same.

¶ 13   On January 14, 2021, DCFS suspended the parental visits. The correspondence directed to

the parents stated the suspension was in the best interest of Dalton and was due to their failure to

adhere to the visitation guidelines. Dalton was exhibiting increased verbal and physical aggression

in the foster home following the visits and Dalton’s counselor recommended suspension of the

visits. A copy of the counselor’s correspondence was attached to the suspension.

¶ 14   A permanency report was filed by Caritas on March 10, 2021. The parents were not

reporting for drug testing and had moved to Paducah, Kentucky, after their camper was impounded

on March 5, 2021. Evlinda claimed that Dallen stole her Social Security money and left her. She

further stated that Dallen was hallucinating that “people were hiding under the hotel bed and saying

things to him.” Dallen had not participated in any services or drug testing. Counseling was helping

Dalton. He missed his parents but was mostly worried about his mother’s well-being.

¶ 15   On April 16, 2021, the guardian ad litem (GAL) filed a petition to permanently suspend

visitation. In support, the petition listed statements made by Evlinda during visitation that included


                                                  5
her need to “eat her scabs because she is a vampire” and Dalton’s difficulties with visitation. On

April 21, 2021, Evlinda’s lawyer filed an objection to the petition claiming the petition was based

on the same letter from January 2021, and the counselor may no longer feel that way. The objection

further claimed that it was not uncommon for a child to experience a divided loyalty between his

parents and his foster parents.

¶ 16   On May 15, 2021, Caritas filed a permanency report. The agency provided three virtual

visits. Evalinda only attended one. After she missed the last two visits, Dalton stated that he no

longer wanted visits with either parent. Dallen was not participating in any services. Dalton was

now nine years old and participating in baseball. He was doing terrific in school and was

interacting with some of the neighbor children. His foster parents said Dalton was uncooperative

during the three weeks that visitation was reinstated. That behavior decreased when the visits

stopped.

¶ 17   At the permanency hearing on May 26, 2021, the court was advised that the case passed

legal screening as to both parents on May 21, 2021. The court considered a goal change but, after

hearing arguments, did not change the goal and left visitation at the discretion of the agency. The

court’s June 9, 2021, permanency order found Dallen made neither reasonable effort nor

reasonable progress.

¶ 18   On September 16, 2021, a permanency report was filed by Caritas. The report revealed that

Evlinda stated she was leaving Dallen and requesting full custody of Dalton. A meeting with the

caseworker was scheduled in July but Evlinda did not show up for the meeting. Dallen said he was

divorcing Evlinda. Two virtual visits took place. Dalton said he did not want to attend any more

visits. The parents did not have stable housing and stated they were involved with the flood

incident in Tennessee in August 2021 and were waiting for help from the Federal Emergency


                                                6
Management Agency (FEMA); however, they had not provided the necessary information to

FEMA as of September 14, 2021. Dallen was not engaged in any services. Dalton was excelling

in school, got his hair cut, no longer wanted anything to do with his parents, and wanted his foster

parents to adopt him. The agency recommended a change in the permanency goal to substitute care

pending determination of termination of parental rights. Updated correspondence from Dalton’s

counselor revealed Dalton’s behavior improved without parental visits and his nightmares and

outbursts lessened when the visits were suspended. Based on the counselor’s letter, the agency

again suspended visitation.

¶ 19   On December 15, 2021, the parents requested an in camera interview with Dalton due to

correspondence from Dalton’s counselor recommending cessation of visitation. The motion stated

that Dalton was old enough to speak his wishes to the court and he should be required to do so.

¶ 20   On December 17, 2021, the trial court interviewed Dalton. Dalton no longer wanted to visit

his parents and stated he was glad his parents no longer lived in Illinois. He talked about their drug

and alcohol use, as well as their physical abuse against each other, his grandparents, and him. A

hearing was held on both the recommendation to change the permanency goal and discontinue

visitation. Following the hearing, the court changed the permanency goal to substitute care pending

determination of termination of parental rights and discontinued visitation. The January 10, 2022,

permanency order found that neither Evlinda, nor Dallen, made reasonable effort or reasonable

progress.

¶ 21   On May 25, 2022, a permanency hearing report was filed. The report indicated that Dallen

completed parenting classes and was now engaged in online domestic violence services. However,

the report noted that Dallen and Evlinda fought before and after the parenting classes. The parents

remained a couple and were looking for housing. Dalton was excelling at school, made friends,


                                                  7
and adamantly refused to attend visits with his parents. He stated that he wanted to stay with his

foster family forever and if he was returned to his parents, he would run away. He also participated

in sports. The recommended goal change was for adoption.

¶ 22   On May 27, 2022, the State filed a petition to terminate parental rights. With regard to

Dallen, the State alleged he was unfit for (1) failing to maintain a reasonable degree of interest,

concern, or responsibility for the child’s welfare pursuant to section 1(D)(b) of the Adoption Act

(750 ILCS 50/1(D)(b) (West 2022)); (2) failing to protect the child from conditions within his

environment injurious to the child’s welfare pursuant to section 1(D)(g) of the Adoption Act (id.

§ 1(D)(g)); and (3) failing to make reasonable efforts to correct the conditions that were the basis

of the child’s removal for any nine-month period following the adjudication of a neglected or

abused child pursuant to section 1(D)(m)(i) of the Adoption Act (id. § 1(D)(m)(i)). At the hearing

on May 27, 2022, the petition was read to the parents along with their rights under the Act. Both

parents stated they understood what the State was alleging and their rights under the Act. The

fitness hearing was scheduled for August 26, 2022.

¶ 23   On August 24, 2022, a permanency report was filed. Dallen was scheduled for a

psychological evaluation on August 17, 2022, but the agency did not have any information

regarding the appointment or whether he was participating in mental health services. His drug

testing revealed a faint trace of THC on March 25, 2022, tampered urine on April 29, 2022, and

failures to appear for testing on July 28 and August 17, 2022. The agency could not verify Dallen’s

participation in online domestic violence classes. Dallen remained without housing.

¶ 24   Dalton was now 10 years old and in a potential adoptive placement. He continued to refuse

to attend visits. He had a positive relationship with the foster parents and his foster siblings. He

and the foster family repeatedly stated that he wanted them to adopt him, and they wanted to adopt


                                                 8
him. He continued to excel in school, had friends, and was involved in sports. He was in counseling

that was proving beneficial and continued to make progress. The report noted that the case had

been open over two years and very little progress was made by the biological parents. The

recommended goal was adoption once parental rights were terminated.

¶ 25   On August 24, 2022, Dallen’s attorney moved for a continuance of the August 26, 2022,

hearing. On August 26, 2022, the trial court granted the motion, and the fitness hearing was

rescheduled for October 28, 2022. On October 28, 2022, the State filed a notice clarifying that its

petition to terminate parental rights was based on the periods from July 23, 2020, through

December 17, 2021, and December 18, 2021, through October 28, 2022. The dates were the same

for both parents. The fitness hearing proceeded over the objection of Dallen’s attorney as to the

late information regarding the nine-month periods.

¶ 26   The State called Constance Hernandez, a foster care supervisor for Caritas, to testify. She

became involved in Dalton’s case approximately three months after he was removed from the

camper. She was the supervisor on the case for about a year before the hearing. She stated that the

parents’ recommended services included: mental health assessments and treatment, substance

abuse assessments and treatment, drug screens, parenting classes, domestic violence counseling,

and finding and sustaining stable housing. They were also required to cooperate with the agency.

She explained that two mental health assessments were required for each parent due to their

failures to provide accurate information during the initial assessments. Dallen was recommended

for mental health counseling but made no attempt to complete his mental health counseling from

April 2020 to August 2022. To her knowledge, Dallen was not receiving mental health counseling

at the time of the hearing. Both parents completed the substance abuse assessment but were not

forthcoming with the assessor based on the drug testing results that were received. The tests taken


                                                9
June 24, 2020, August 19, 2020, September 21, 2020, and November 16, 2020, were positive for

methamphetamines for both parents. Based on those results, the agency recommended substance

abuse treatment. Neither parent completed that treatment. The parents participated in a drug screen

in March 2022 but were inconsistent in returning from Tennessee to take additional tests. Dallen’s

urine was either insufficient for testing or tampered with. Thereafter, Dallen objected on the basis

of hearsay to Ms. Hernandez’s testimony related to Dallen’s drug testing, the parents’ failure to

appear for drug testing, and eventually, all the information in the Caritas permanency report. The

court found the reports were inadmissible hearsay but stated it would allow the State to obtain an

affidavit to satisfy the modified business record exception to the hearsay rule. Thereafter, the court

continued the hearing until January 27, 2023. On January 25, 2023, the State moved for a

continuance due to the unavailability of some of its witnesses. The motion was granted, and the

fitness hearing was rescheduled for May 16, 2023.

¶ 27    On April 27, 2023, Caritas filed an updated report and service plan. The report noted that

the parents were now living in Tennessee and would not sign consents that would allow the agency

to verify service participation. Dalton was 10 years old and was discharged successfully from

counseling. No medical services beyond immunizations were necessary. He loved school, was

making social connections, was a straight A student and read at a ninth-grade reading level. He

was also participating in summer baseball, Boy Scouts, and band. He no longer called his

biological parents “mom and dad” but used their first names. He had a strong bond with his foster

parents and foster siblings. The report found Dallen unsatisfactory for all services recommended

in the plan.

¶ 28    The fitness hearing resumed on May 16, 2023. Neither Evlinda, nor Dallen, were present;

however, Evlinda’s attorney stated Evlinda was outside in her car with her dog and cat and that


                                                 10
she said Dallen was in jail. Dallen’s attorney orally moved for a continuance, stating that Dallen

was allegedly charged with some type of battery against Evlinda, but Evlinda told his secretary the

incident did not happen, and she was injured accidentally. The attorney tried unsuccessfully to

contact Dallen at the jail. He stated there was also a hold for a similar charge in a different county

and stressed that Dallen was presumed innocent of all the charges. He stated that he planned to

call the only witness to “say that he’s not guilty” and “didn’t do those things.” Evlinda’s attorney

joined in the requested continuance and stated that her client was “working on dismissing the

charges.” The State objected to the requested continuance, noting the petition for termination was

filed nearly a year earlier, the case had been open for three years, and argued that Dalton deserved

permanency. It further argued that Dallen was in jail and his current incarceration was the result

of his own actions which should not affect Dalton’s future and requested a finding of default

against Dallen. Dallen’s attorney disputed that Dallen’s actions were the cause of his incarceration

and stated he just received the contact information for the jail from Evlinda’s attorney and would

call the jail before 1 p.m. Evlinda’s attorney again stated that she wanted Dallen to be at the

proceeding and reminded the court of the State’s requested continuance at the initial hearing that

was granted. She further stated that Dallen was in the Montgomery County, Tennessee, jail and

had court at 1:30 p.m. A brief recess was taken to allow Dallen’s attorney to contact Dallen or the

jail to obtain details regarding the charges.

¶ 29   After the recess, Dallen’s attorney confirmed that Dallen was in jail in Tennessee and had

a 1:30 p.m. hearing. His bond was set at $7500. Dallen was charged with domestic assault and

unlawful drug paraphernalia in Montgomery County, Tennessee, and aggravated assault in

Humphreys County, Tennessee. Dallen’s attorney argued that Dallen was presumed innocent of

those charges. The court asked how long Dallen had been in jail and Evlinda’s attorney responded,


                                                 11
“Two weeks.” The court asked if Dallen’s attorney had any evidence to submit and Dallen’s

attorney called Evlinda in support of his motion to continue.

¶ 30   Evlinda confirmed that Dallen was in jail and that she was working to get the charges that

involved her dismissed. When asked if she was requesting the dismissal because the charges were

unfounded, she stated it was “more to put it into God’s hands than the Court’s hands.” She clarified

that the drug paraphernalia charge was from a year earlier. On cross-examination, Evlinda clarified

that she was the victim involved in both the domestic assault and aggravated assault charges. The

aggravated assault incident occurred two or three weeks before the domestic assault incident.

When Dallen was arrested for the Humphreys County case, he had an outstanding warrant. She

stated that both arrests occurred in the last month and confirmed that both incidents occurred. She

agreed the aggravated assault charge was a felony but did not know if the domestic assault was a

misdemeanor or a felony. She stated that Dallen was never at the Humphreys County jail and had

not appeared in the Humphreys County courthouse. He was in Montgomery County.

¶ 31   The parties provided argument and Dallen’s attorney offered to arrange for Dallen to

appear virtually. The court stated that he would need to arrange the appearance in the next hour

and 15 minutes. Dallen’s attorney stated that Dallen would be in court at 1:30 p.m. Thereafter, the

court stated,

       “[Evlinda] testified under oath that *** the incidents occurred; she was the victim. She

       didn’t say it didn’t occur. She affirmed it occurred, whatever they are. But whatever they

       are is why he’s in jail, that’s why he’s not here today. So[,] the Motion to Continue will be

       denied.”

Thereafter, the court again stated it would allow Dallen to appear virtually for the fitness hearing,

if possible. The court then recessed until 1 p.m. to allow Dallen’s attorney to try to contact Dallen.


                                                 12
The attorney again noted that Dallen had a court appearance at 1:30 p.m. but stated he would see

if he could arrange for Dallen’s participation.

¶ 32   The parties returned at 1 p.m., Dallen was not present virtually, and the State again

requested a default judgment against Dallen. The court granted the default judgment over Dallen’s

attorney’s objection. Dallen’s attorney then advised the court that he wished to leave the

proceeding since his client was found unfit by default. The court stated Dallen’s counsel could

stay if he wanted but counsel declined. Following the hearing, the court found Evlinda was unfit

on all the bases alleged by the State and set the best interest hearing on June 30, 2023.

¶ 33   On June 28, 2023, Dallen’s attorney filed a motion for reconsideration of the default

judgment and further moved for a continuance of the best interest hearing. The request for

reconsideration argued that Dallen was not present for the hearing because he was incarcerated;

however, his criminal charges were dismissed and Dallen was presumed innocent. Dallen’s motion

further argued that his due process rights were violated because his attorney was dismissed from

the fitness hearing after the default judgment was issued, he had no representation at the hearing,

and he was entitled to have counsel at the hearing. He argued that these events violated his due

process rights because he did not voluntarily choose not to participate in the hearing. On June 29,

2023, the trial court granted Dallen’s motion to continue, and the best interest hearing was

rescheduled for August 25, 2023.

¶ 34   On August 17, 2023, Caritas filed a status report. The report revealed that Dallen was

recently incarcerated in Massac County, Illinois, for a “revoked/suspended license” charge on July

29, 2023. He was no longer incarcerated as of the date of the report, and the agency was unaware

of his current location because Dallen had not contacted the agency. Dalton was now 11 years old

and continued to do well with his foster family and school. The report stated that Dalton blossomed


                                                  13
during foster care and was now outgoing, witty, and adventurous. He was in sixth grade and read

at a ninth-grade level. He enjoyed living with the foster family and repeatedly told caseworkers

that he would like to be adopted by the foster family. He has also indicated that he had no desire

to be in contact with either of his biological parents. Dalton had been in foster care for 1233 days.

¶ 35   The best interest hearing was held on August 25, 2023. The court first addressed Dallen’s

motion for reconsideration. Dallen’s attorney argued that Dallen was innocent of the charges as

they had been dismissed and it was unfair for him not to be present at the hearing. The court

recalled the discussion from the best interest hearing as well as Evlinda’s testimony about

dismissing the charges. Thereafter, the trial court denied Dallen’s motion and moved to the best

interest hearing.

¶ 36   The GAL provided an oral report based on his conversation with Dalton that morning at

his school. The GAL stated everything remained the same as when the court spoke with Dalton.

Dalton’s feelings had not changed regarding his parents, and he did not wish to have any contact

with either parent, even when asked separately about each parent. He stated that he loved his foster

family, their home was his home, and this was his school. He was currently in the sixth grade and

doing great. He enjoyed his current homeroom teacher, and his favorite subject was science. Dalton

stated that he wanted his current foster family to adopt him.

¶ 37   The GAL also spoke with Dalton’s foster mother who stated that she and the maternal

grandparents had a great working relationship, and the grandparents spent every other week with

Dalton that summer. Dalton spent holidays and long weekends with them as well as every other

weekend, which she believed was in his best interests. She further stated that if they were allowed

to adopt Dalton, they would continue to foster that relationship, noting that the grandparents had a




                                                 14
restraining order against Dallen. She stated that the grandparents were also in favor of the foster

family adopting Dalton.

¶ 38    The State called Marcus Clarry, the lead foster care manager at Caritas, who testified that

Dallen had not contacted the agency since the fitness hearing and neither he, nor anyone in his

office, had any contact with Dallen during that time. Mr. Clarry met with Dalton three times since

the fitness hearing. Dalton was doing very well and was very intelligent. He was involved in his

school activities. He loved science, math, and reading. He was very advanced with reading. He

was also in the Boy Scouts. He tried baseball over the summer but did not enjoy it and preferred

being hands-on in the wilderness with the Boy Scouts. He considered the foster family his family.

Dalton also had several friends at school.

¶ 39    Mr. Clarry stated that the foster family provided shelter, clothing, and food for Dalton.

They also maintained his doctors’ appointments. Dalton had been with the foster family since July

2021, which was over two years. He was secure with the foster family, and they showed him great

affection. He believed it was in Dalton’s best interest for the foster family to adopt him.

¶ 40    On cross-examination, Mr. Clarry stated that he tried to contact Dallen after the fitness

hearing. He even called the Massac County jail, but Dallen had already been released. Mr. Clarry

did not request contact information from the jail because he knew from experience that it would

not be provided. He did not try to contact the Massac County State’s Attorney to request Dallen’s

contact information. He stated that the parents had the agency’s phone number if they wanted to

contact him. He stated that he saw Dalton’s bedroom and it contained a bed, clothes, and all his

necessities. He stated the foster family was ready to adopt Dalton as soon as it was able. Thereafter,

the State rested.




                                                 15
¶ 41   Evlinda testified about her attempts to contact Caritas to request a picture of Dalton and

provide a gift card for him from her inheritance. Dallen testified that he was with Evlinda during

three of her attempts to contact the agency. Following the testimony and argument, the court found

that Dalton’s best interests were served by terminating both Evlinda and Dallen’s parental rights.

Dallen timely appealed.

¶ 42                                    II. ANALYSIS

¶ 43   We must first address the delay in the issuance of this order. This case is subject to an

expedited disposition pursuant to Illinois Supreme Court Rule 311(a)(5) (eff. July 1, 2018). Rule

311(a)(5) requires the appellate court to issue its decision 150 days after the notice of appeal is

filed, except when good cause is shown. Here, the notice of appeal was filed on September 8, 2023,

making our decision due by February 5, 2024. Although this court makes every effort to comply

with the Rule 311(a)(5) deadline, respondent’s initial appointed appellate counsel failed to file any

brief despite this court’s orders to do so. Due to the lack of compliance with this court’s orders,

alternative appellate counsel was eventually appointed and, upon request, was granted additional

time to file respondent’s brief. Accordingly, we find that good cause exists for filing this decision

beyond the deadline.

¶ 44   Termination of parental rights proceedings are governed by the Juvenile Court Act (705

ILCS 405/1-1 et seq. (West 2022)) and the Adoption Act (750 ILCS 50/0.01 et seq. (West 2022)).

After a petition for involuntary termination is filed under the Juvenile Court Act, a two-step process

is required for parental rights termination. See 705 ILCS 405/2-29(2) (West 2022). “The State

must first establish, by clear and convincing evidence, that the parent is an unfit person under one

or more of the grounds of unfitness enumerated in section 1(D) of the Adoption Act (750 ILCS

50/1(D) (West 2018)).” In re J.C., 2020 IL App (2d) 200063, ¶ 27. After a trial court finds the


                                                 16
parent unfit, the cause proceeds to the second step and the trial court determines whether it is in

the best interest of the child to terminate parental rights. In re Daphnie E., 368 Ill. App. 3d 1052,

1071 (2006).

¶ 45   On appeal, Dallen does not provide any argument regarding the trial court’s finding that it

was in Dalton’s best interest to terminate Dallen’s parental rights. Instead, Dallen argues that the

trial court deprived him of his due process rights by denying his motion to continue the fitness

hearing while he was incarcerated in Tennessee. The State first argues that this is not a due process

issue, and our only concern is whether the trial court abused its discretion in denying the requested

continuance. In the alternative, the State argues that even if due process is at issue, review of the

Mathews factors (see Mathews v. Eldridge, 424 U.S. 319 (1976)) fails to reveal a due process

violation.

¶ 46   We find the State’s initial argument claiming due process is not at issue, unpersuasive.

While a court may grant a default judgment in termination proceedings (see In re K.S., 2022 IL

App (4th) 220350-U, ¶ 39), in certain circumstances, the basis of the court’s determination may

raise issues of due process. Due process includes heightened protection against governmental

interference with a parent’s fundamental rights in making decisions concerning the care, custody,

and control of their children. Santosky v. Kramer, 455 U.S. 745, 753 (1982). Accordingly, we

apply the test developed in Mathews, 424 U.S. 319, to determine whether respondent received

procedural due process in these proceedings. See In re D.T., 212 Ill. 2d 347, 362 (2004); In re

Andrea F., 208 Ill. 2d 148, 165 (2003); In re M.H., 196 Ill. 2d 356, 364-65 (2001).

¶ 47   As stated by the Illinois Supreme Court,

       “Under Mathews, the dictates of due process require consideration of three factors: ‘[f]irst,

       the private interest that will be affected by the official action; second, the risk of an


                                                 17
       erroneous deprivation of such interest through the procedures used, and the probable value,

       if any, of additional or substitute procedural safeguards; and finally, the Government’s

       interest, including the function involved and the fiscal and administrative burdens that the

       additional or substitute procedural requirement would entail.’ ” In re D.T., 212 Ill. 2d at

       362-63 (quoting Mathews, 424 U.S. at 335).

¶ 48   Regarding the first factor, Dallen argues that the private interest at stake is maintaining his

familial relationship with his son. We do not disagree. “At the unfitness stage, the interests of the

parent and the child coincide to the extent that they both ‘share a vital interest in preventing

erroneous termination of their natural relationship.’ ” Id. at 363 (quoting Santosky, 455 U.S. at

760-61). Accordingly, we find this factor weighs in favor of Dallen.

¶ 49   The second Mathews factor requires this court to consider the risk of an erroneous

deprivation of such interest through the procedures used, and the probable value, if any, of

additional or substitute procedural safeguards. Here, Dallen argues that the trial court’s refusal to

grant the continuance due to his incarceration resulted in an erroneous deprivation of his private

interest. He argues that the trial court’s action deprived him of the opportunity to be heard at a

meaningful time in a meaningful manner because he never requested any prior continuance, and

no alternative procedure was provided by the court. He also argues that although the court stated

it would allow Dallen to participate virtually at the 1 p.m. hearing, the offer to participate was not

provided prior to the default hearing. He further argues, citing In re A.C., 354 Ill. App. 3d 799
(2005), that no effort was made to allow him to participate despite accessible technology that

would have allowed him to participate and therefore this factor weighs in his favor. We disagree.

¶ 50   First, while Dallen contends that he never asked for any other continuance, the record

reveals that he requested, and received, a continuance of the originally scheduled fitness hearing


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on August 26, 2022. It was Dallen’s request for continuance that caused the fitness hearing to be

rescheduled for October 28, 2022.

¶ 51   Second, Dallen’s contention that the court made no offer that would allow him to

participate virtually until after the default hearing was granted, is also contradicted by the record.

The case was called three times on May 16, 2023. The first time neither parent was in the

courtroom and only scanty details regarding Dallen’s incarceration were provided to the court. The

court then granted a brief recess to allow Dallen’s counsel to call the correct courthouse to obtain

additional information regarding Dallen’s situation.

¶ 52   When the case was called the second time, Dallen’s counsel advised the court that Dallen

was incarcerated in Tennessee due to pending charges for domestic assault and unlawful drug

paraphernalia in Montgomery County and an aggravated assault charge in Humphreys County.

The court was advised that Dallen had been in jail for the past two weeks. Thereafter, Dallen’s

attorney called Evlinda to testify in support of his motion to continue.

¶ 53   Evlinda’s testimony confirmed a pending domestic assault charge in Montgomery County

and a pending aggravated assault charge in Humphreys County. She further confirmed that while

she was trying to assist Dallen by requesting the charges be dismissed, the abusive incidents did

occur, and she was the victim of both assaults. She stated the incidents occurred within two or

three weeks of each other and that Dalton had been in jail for two weeks at the time of the fitness

hearing. During arguments following Evlinda’s testimony, Dallen’s attorney offered to arrange for

Dallen to appear virtually. The court was receptive and stated that counsel would need to arrange

the appearance in the next hour and 15 minutes. Following argument, the court denied the motion

to continue but again provided an opportunity for Dallen to appear virtually by taking a break until




                                                 19
1 p.m. and stating that if Dallen could find a way to virtually attend the hearing, the court would

allow him to appear for the hearing.

¶ 54   As to the second Mathews factors, it is clear the trial court invited risk of the erroneous

deprivation of Dallen’s parental interests when it denied the motion to continue. However, contrary

to Dallen’s argument on appeal, the court twice offered an alternative method that would allow

Dallen’s virtual appearance prior to the third hearing in which the State moved to default Dallen.

Given the opportunities afforded to Dallen to accommodate his incarceration in another state, we

cannot find the procedural safeguards afforded to Dallen in the lower court proceedings were

insufficient to protect his rights as he was afforded the opportunity to participate virtually in the

hearing, despite his incarceration in another state. We further note that Dallen was in jail for two

weeks prior to the hearing. At no time prior to the date of the hearing is there any record that

Dallen, or his counsel, apprised the court or the agency of his incarceration, file a written motion

to continue the case at bar in advance of the fitness hearing, or request a continuance in his criminal

case, despite knowing that the hearings were on the same date.

¶ 55   Nor do we find Dallen’s reliance on In re A.C. to have merit. In A.C., the respondent

participated in the fitness hearing by telephone due to his incarceration in another state and argued

on appeal that the phone was part of a faulty phone system and therefore having to use the phone

violated his due process rights. In re A.C., 354 Ill. App. 3d at 804. However, the court found that

use of a telephone, as an alternative to an in-person hearing, was one method authorized by the

appellate court to allow for participation in juvenile proceedings. Id. at 805; see also In re C.J.,

272 Ill. App. 3d 461, 465 (1995) (providing alternatives to a parent’s presence at a hearing).

¶ 56   Here, just as in A.C., an alternative method was available, and the court twice confirmed

that it would allow Dallen to participate virtually. The court’s offer was consistent with precedent


                                                  20
as well as Illinois Supreme Court Rule 241, which provides that the court “may, upon request or

the judge’s own order, allow a case participant to testify by video conference for good cause shown

and upon appropriate safeguards.” Ill. S. Ct. R. 241(b) (eff. Feb. 2, 2023). Respondent, as the

minor’s biological parent, would be a “case participant.” Id. Further, the committee comments

clarify that a “showing of good cause and compelling circumstances may rise when a witness is

unable to attend trial for unexpected reasons, such as accident or illness, but is able to testify from

a remote location.” Id., Committee Comments (rev. Feb. 2, 2023). Here, we find nothing in the

record that would undermine reliance on Rule 241 to allow Dallen to participate virtually for the

fitness hearing due to his incarceration in Tennessee.

¶ 57   Although Dallen’s counsel was provided an opportunity to make the arrangements that

would allow his client to participate during the hour and 15-minute break before the 1 p.m. hearing,

at no time did counsel provide any further information as to why Dallen would not be appearing

virtually from the Tennessee jail. Nor was any argument presented as to why a continuance could

not be requested in Dallen’s criminal case, or why a continuance was not previously requested for

the fitness hearing, when the hearing was set over a month earlier and Dallen was in jail for two

weeks prior to the fitness hearing. Accordingly, we find that the substituted procedural

safeguards—seen here in the offer of an alternative appearance procedure—sufficiently minimized

any risk associated with the trial court’s denial of counsel’s motion for a continuance and therefore,

this factor does not weigh in Dallen’s claim that his due process rights were violated.

¶ 58   The final Mathews factor for consideration is the governmental interest. The court in C.J.,

noted that “delay in adjudication impose[d] a particularly serious cost on governmental

functioning” when the child was “very young.” In re C.J., 272 Ill. App. 3d at 466. The statement

in C.J. cited a Connecticut juvenile case which further stated that “[t]ime is of the essence in child


                                                  21
custody cases” because it was public policy of that state “to provide all of its children a safe, stable

nurturing environment.” (Internal quotation marks omitted.) In re Juvenile Appeal, 187 Conn. 431,

439-40 (1982). Connecticut public policy is similar to Illinois public policy. See 705 ILCS 405/1-

2(1) (West 2022). However, Illinois does not qualify its public policy based on the age of the child.

Id.
¶ 59    In the case at bar, Dalton was removed from his parents on April 7, 2020. At the time of

the fitness hearing on May 16, 2023, Dalton had been in substitute care for over three years—from

age 7 to age 10—waiting for his fate to be decided. Neither Dallen, nor his counsel, provided any

time frame as to when Dallen might have been able to participate in person, or virtually. Indeed,

no time frame for the requested continuance was ever provided by Dallen’s attorney.

¶ 60    While further delay would not likely have personally affected either the State or the trial

court, both have “concurrent powers and responsibilities that are in the nature of parens patriae.”

In re D.S., 198 Ill. 2d 309, 328 (2001). “The doctrine of parens patriae ‘represents an expression

of the general power and obligation of the government as a whole to protect minors and the

infirm.’ ” Id. (quoting In re S.G., 175 Ill. 2d 471, 488 (1997)). “The parens patriae power is

codified in the Juvenile Court Act, which specifically charges the circuit court with the duty to act

in the best interests of the minor and for the minor’s own protection.” Id. “[B]oth the court and the

State’s Attorney are jointly charged with acting in the best interests of the minor.” Id. at 325 (citing

In re J.J., 142 Ill. 2d 1, 11 (1991)).

¶ 61    It is well established in Illinois that “ ‘it is not in [a minor’s] best interests for his status to

remain in limbo for an extended period of time.’ ” Id. at 328 (quoting In re D.L., 191 Ill. 2d 1, 13

(2000)). The courts “should ‘consider, in an expedited manner, cases involving [such children], so

that the minors whose futures are at stake in [juvenile] proceedings can obtain a prompt, just, and


                                                    22
final resolution of their status.’ ” Id. (quoting In re D.L., 191 Ill. 2d at 13). Here, continuing the

hearing frustrated the State’s parens patriae interest in promoting the welfare of the child because

the delay frustrated Dalton’s interest in finding a permanent home (see In re Charles A., 367 Ill.

App. 3d 800, 803-04 (2006)) especially where, as seen here, Dalton was in substitute care for over

three years and no definite date of availability was provided by respondent. Accordingly, we find,

after consideration of the governmental interest, this factor weighs heavily against Dallen’s claim

of a due process violation.

¶ 62                                  III. CONCLUSION

¶ 63   After consideration of all the Mathews factors, we find that Dallen’s due process rights

were not violated by the trial court’s denial of his motion to continue the fitness hearing due to his

incarceration in another state. Dallen raised no other issue on appeal. Accordingly, we affirm the

trial court’s termination of Dallen’s parental rights.



¶ 64   Affirmed.




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